      Case: 1:10-cv-07967 Document #: 1 Filed: 12/15/10 Page 1 of 7 PageID #:1




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

Agnes Groeper,                          )
                                        )
       Plaintiff,                       )
                                        )
       v.                               )        No. 10 C 7967
                                        )
Frederick J. Hanna & Associates, P.C., )
a Georgia professional corporation, and )
Chase Bank USA, N.A.,                   )
                                        )
       Defendants.                      )        Jury Demanded

                                      COMPLAINT

       Plaintiff, Agnes Groeper, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendants’ debt

collection actions violated the FDCPA, and were an act of consumer fraud and breach

of contract, and to recover damages for Defendants’ violations of the law, and alleges:

                             JURISDICTION AND VENUE

       1.    This Court has jurisdiction, pursuant to § 1692k(d) of the FDCPA and 28

U.S.C. § 1331, over the FDCPA claim, and supplemental jurisdiction, pursuant to 28

U.S.C. § 1367, over the consumer fraud and breach of contract claims.

       2.    Venue is proper in this District because: a) the acts and transactions

occurred here; and, b) one Defendant resides here and both Defendants transact

business here.

                                        PARTIES

       3.    Plaintiff, Agnes Groeper ("Groeper"), is a citizen of the State of Illinois,

from whom Defendants attempted to collect a delinquent consumer debt that was
      Case: 1:10-cv-07967 Document #: 1 Filed: 12/15/10 Page 2 of 7 PageID #:2




allegedly owed for a Chase Bank credit card, despite the fact that she was represented

counsel and had settled the debt.

       4.     Defendant, Frederick J. Hanna & Associates, P.C. (“Hanna”), is a Georgia

professional corporation and law firm, that acts as a debt collector, as defined by §

1692a of the FDCPA, because it regularly uses the mails and/or the telephone to

collect, or attempt to collect, delinquent consumer debts. In fact, Defendant Hanna was

acting as a debt collector, as that term is defined in the FDCPA, as to the delinquent

consumer debt it attempted to collect from Plaintiff.

       5.     From its offices in Georgia, Defendant Hanna operates a nationwide

collection law firm that sends collection letters to virtually every State, including to

thousands of consumers in the State of Illinois.

       6.     Defendant Chase Bank USA, N.A., is a national banking association that

has operations and offices throughout Illinois, as well as nationwide.

                                FACTUAL ALLEGATIONS

       7.     Ms. Groeper fell behind on paying her bills, including a bill for a Chase

Bank credit card. When Defendant Chase began trying to collect this debt from her, on

February 9, 2010, she worked out a settlement with Chase whereby the debt would be

settled and compromised for a payment of $9,605 on or before March 1, 2010. See,

February 9, 2010, letter from Chase to Ms. Groeper attached as Exhibit A.

       8.     Via a check dated February 19, 2010, which was sent overnight to Chase

via Federal Express that day, Ms. Groeper paid the settlement amount. See, FedEx US

Airbill and check, attached as Group Exhibit B.

       9.     Nonetheless, on June 15, 2010, Defendant Chase wrongfully sued Ms.



                                               2
      Case: 1:10-cv-07967 Document #: 1 Filed: 12/15/10 Page 3 of 7 PageID #:3




Groeper in small claims court, in matter styled Chase Bank USA v. Agnes T. Groeper,

No. 10-M1-154225 (Circuit Court of Cook County, Illinois)(the “Small Claims Lawsuit”),

to try and collect an alleged balance due on the account. A copy of the complaint in the

Small Claims Lawsuit is attached as Exhibit C.

       10.    Accordingly, Ms. Groeper was forced to hire an attorney to defend her

from the Small Claims Lawsuit, and on June 29, 2010, July 23, 2010 and July 27, 2010,

Ms. Groeper's attorney had to repeatedly remind Defendant Chase, in writing and via

the telephone, that the debt at issue had been compromised and settled, and had to

demand that it dismiss its wrongfully filed complaint in the Small Claims Lawsuit. See

June 29, 2010 and July 27, 2010, correspondence attached as group Exhibit D.

       11.    Nonetheless, Defendant Chase did not dismiss its lawsuit until September

21, 2010. A copy of the dismissal order in the Small Claims Lawsuit is attached as

Exhibit E.

       12.    Incredibly, Defendant Chase then had Defendant Hanna send Ms.

Groeper a collection letter, dated November 8, 2010, demanding payment of an alleged

balance owed on the compromised and settled Chase Bank account. A copy of this

collection letter is attached as Exhibit F.

       13.    All of the collection actions complained of herein occurred within one year

of the date of this Complaint.

       14.    Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).




                                              3
     Case: 1:10-cv-07967 Document #: 1 Filed: 12/15/10 Page 4 of 7 PageID #:4




                                     COUNT I
                     Violation Of § 1692c(c) Of The FDCPA --
            Failure To Cease Communications And Cease Collections

      15.    Plaintiff adopts and realleges ¶¶ 1-14.

      16.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      17.    Here, the letters from Ms. Groeper’s attorney told Defendants to cease

communications and to cease collections. By continuing to communicate regarding this

debt and demanding payment, Defendants violated § 1692c(c) of the FDCPA.

      18.    Defendants’ violation of § 1692c(c) of the FDCPA renders them liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      19.    Plaintiff adopts and realleges ¶¶ 1-14.

      20.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      21.    Defendants knew, or should have known, that Ms. Groeper was

represented by counsel in connection with her debts because her attorney had informed

Defendants, in writing (Group Exhibit D), that she was represented by counsel, and had



                                            4
      Case: 1:10-cv-07967 Document #: 1 Filed: 12/15/10 Page 5 of 7 PageID #:5




directed Defendants to cease directly communicating with her. By directly sending Ms.

Groeper a collection letter, despite being advised that she was represented by counsel,

Defendants violated § 1692c(a)(2) of the FDCPA.

         22.   Defendants’ violation of § 1692c(a)(2) of the FDCPA render them liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                     COUNT III
                       Violation Of § 1692e Of The FDCPA --
                   Demanding Payment Of A Debt That Is Not Owed

         23.   Plaintiff adopts and realleges ¶¶ 1-14.

         24.   Section 1692e of the FDCPA prohibits a debt collector from using any

false, deceptive or misleading representation or means in connection with the collection

of a debt, including, but not limited to, the false representation of the character, amount

or legal status of any debt, see 15 U.S.C. § 1692e(2)(A).

         25.   Demanding payment of a debt that is no longer directly owed, due to it

having been settled and compromised, is false, deceptive or misleading, in violation of §

1692e of the FDCPA. See, Randolph v. IMBS, Inc., 368 F3d 726, 728-730 (7th Cir.

2004).

         26.   Defendants’ violation of § 1692e of the FDCPA renders them liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                      COUNT IV
                      Violation of the Illinois Consumer Fraud
                and Deceptive Business Practices Act 815 ILCS 505/2

         27.   Plaintiff adopts and realleges ¶¶ 1-14.



                                             5
      Case: 1:10-cv-07967 Document #: 1 Filed: 12/15/10 Page 6 of 7 PageID #:6




       28.    The Illinois Consumer Fraud and Deceptive Business Practices Act

(“CFA”) prohibits a person from making false or misleading misrepresentations or

omissions. The CFA also prohibits unfair business practices.

       29.    Defendant Chase falsely represented to Plaintiff that it would settle the

account at issue, she settled it and then Defendants falsely claimed that Plaintiff still

owed money on that account -- wrongfully suing her and sending her a collection letter.

       30.    Defendants’ collection actions are oppressive and against public policy.

       31.    Defendants are liable for Plaintiff’s attorneys’ fees incurred in defending

their collection actions.

       32.    Defendants are liable for attorneys’ fees and costs under the CFA.

       33.    Defendants’ intentional and reckless conduct also renders them liable for

actual and punitive damages.

                                        COUNT V
                                    Breach Of contract

       34.    Plaintiff adopts and realleges ¶¶ 1-14.

       35.    Defendant Chase offered to settle and compromise Plaintiff’s alleged debt

for a payment of $9,605 made by March 1, 2010.

       36.    Plaintiff accepted that offer and performed on it by making the payment

well before the deadline.

       37.    Defendant Chase accepted Plaintiff’s payment.

       38.    Defendant Chase then breached that agreement by wrongfully suing

Plaintiff in the Small Claims Lawsuit.

       39.    Defendant Chase and Defendant Hanna then further breached that

agreement by sending Plaintiff a collection letter.


                                              6
      Case: 1:10-cv-07967 Document #: 1 Filed: 12/15/10 Page 7 of 7 PageID #:7




       40.    Plaintiff was damaged by this breach of contract in that she had to hire

attorneys to defend her and because her credit has likely been damaged by

Defendants’ actions.

       41.    Defendants’ breach of contract renders them liable for all actual damages

that Plaintiff has suffered as a result of their breach of contract.

                                   PRAYER FOR RELIEF

       Plaintiff, Agnes Groeper, prays that this Court:

       1.     Find that Defendants’ debt collection actions violated the FDCPA, were an

act of consumer fraud and a breach of contract;

       2.     Enter judgment in favor of Plaintiff Groeper, and against Defendants for

actual, statutory and punitive damages;

       3.     Award Plaintiff her costs and reasonable attorneys’ fees; and,

       4.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Agnes Groeper, demands trial by jury.

                                                     Agnes Groeper,

                                                     By: /s/ David J. Philipps_________
                                                     One of Plaintiff's Attorneys

Dated: December 15, 2010

David J. Philipps      (Ill. Bar No. 06196285)
Mary E. Philipps       (Ill. Bar No. 06197113)
Philipps & Philipps, Ltd.
9760 S. Roberts Road, Suite One
Palos Hills, Illinois 60465
(708) 974-2900
(708) 974-2907 (FAX)
davephilipps@aol.com
mephilipps@aol.com


                                                 7
